     Case 1:12-cr-00029-RJA-HBS         Document 65                  Filed 07/06/12    Page 1 of 1


UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


v.                                                                                    ORDER

WYMIKO ANDERSON                                                                       1: 12-CR-00029-006




      It is hereby ordered that the condition of release requiring home incarceration be

removed relative to the above-named defendant and replaced with the following condition:

      Participate in the home confinement program and abide by all the requirements of the
      program, which will include electronic monitoring under a curfew as directed by Pretrial
      Services. You shall pay for all or part of the cost of the program based upon your ability
      to pay as determined by the pretrial services officer.



      SO ORDERED.



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                                            Hugh B. Scott
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                                            United States Magistrate Judge



DATED:    Buffalo, New York
          July   Y'  ,2012
